Case 2:03-cr-20425-.]PI\/| Document 104 Filed 08/12/05 Page 1 of 2 Page|D 140

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION m
OU
m OFEN c t
UNITED STATES oF AMERICA, * gm g._ 45 A'W‘~
me'-""”.,'J,, t

Ptamnff, * m“-\ALS'. 79
vs. * No. 03-20425_1\/11
GEoRGE ARMSTRONG, *

Det`endant. *

ORDER GRANTING GOVERNMENT'S MO'I`ION
TO DISMISS COUNTS 2 AND 3 OF SECOND SUPERSEDING INDICTMENT

It is hereby ORDERED that the Govemment's Motion To Disrniss Counts 2 and 3 of the
Second Superseding lndictment in the above-entitled and numbered criminal case as to George
Armstrong is hereby GRANTED.

-|»»-
DONE at Memphis, Tennessee, this 12 day of August, 2005

o m‘&.QQ

T 2D STATES DISTRICT IUDGE

 

 

  
     
 

APPROVED:
Lo aine Craig
Assistant U.S. Attorn

This document entered on the docket sheet in comppl*an@"* j
_B_QM__

with note 55 manor aztb) Fach on ‘ l /06[ j

   

UNITED `sETATS DISTRICT COUR - W"RTE D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 2:03-CR-20425 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
i\/lemphis7 TN 38103

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

